Case 9:20-cv-80954-DMM Document 20 Entered on FLSD Docket 08/05/2020 Page 1 of 2



                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                           PALM BEACH DIVISION
                                         Case No.: 9:20-cv-80954-DMM

  SL MONROE, SR., and other similarly                               )
  situated individuals,                                             )
                                                                    )
                       Plaintiff(s),                                )
                                                                    )
  v.                                                                )
                                                                    )
  DELPHI BEHAVIORAL HEALTH GROUP,                                   )
  LLC d/b/a The Palm Beach Institute, PALM                          )
  BEACH RECOVERY, LLC; and DOMINIC                                  )
  SIRIANNI,                                                         )
                                                                    )
                       Defendants.                                  )
                                                                    )

                                              STATEMENT OF CLAIM

             Plaintiff, SL MONROE, SR. (“Plaintiff”), by and through undersigned counsel, and

  pursuant to this Court’s Order dated July 31, 2020 [D.E. No. 19], hereby files this Statement of

  Claim.

             1.        Amount of unpaid wages: the initial estimated amount of unpaid wages in this

  case is $6,763.37.1

             2.        Calculation of unpaid wages: Plaintiff seeks to recover unpaid overtime wages

  accumulated from approximately July 20, 2018, through April 1, 2020. In total, Plaintiff worked

  approximately 88.7 compensable weeks counting 3 years back from the filing of the instant action.

  Plaintiff worked approximately 50 hours per week, without being compensated all of the overtime

  worked. Plaintiff’s good faith estimate of unpaid wages is as follows:




  1   Plaintiff is also seeking to recover damages for his retaliatory discharge in violation of 29 U.S.C. § 215(a)(3).
Case 9:20-cv-80954-DMM Document 20 Entered on FLSD Docket 08/05/2020 Page 2 of 2




                                                                                                             Unpaid
       Time Period                                       Calculation
                                                                                                             Wages
      July 20, 2018 –       $15.25 (hourly pay) x .5 (overtime rate) x 10 (approximate
                                                                                                            $6,763.37
       April 1, 2020         number of overtime hours) x 88.7 (compensable weeks)

             3.        Nature of wages: Plaintiff was not paid at the lawful overtime rate.

             4.        Total Amount of Damages Sought: $6,763.37, plus an equal amount in liquidated

  damages, reasonable attorney’s fees, and court costs. Accordingly, Plaintiff’s total amount of

  damages to date is approximately $13,526.74, plus reasonable attorneys’ fees, and costs of suit.2


  Dated: August 5, 2020.                                             Respectfully submitted,

                                                                     Aron Smukler
                                                                     Aron Smukler, Esq. (FBN: 0297779)
                                                                     E-mail: asmukler@saenzanderson.com
                                                                     SAENZ & ANDERSON, PLLC
                                                                     20900 NE 30th Avenue, Ste. 800
                                                                     Aventura, Florida 33180
                                                                     Telephone: (305) 503-5131
                                                                     Facsimile: (888) 270-5549
                                                                     Counsel for Plaintiff SL MONROE, SR.




  2   Plaintiff is also seeking to recover damages for his retaliatory discharge in violation of 29 U.S.C. § 215(a)(3).


                                                                                                                          2
